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           American Vanguard Contact

        From: Lauburu88
        Tue, 17 Jan 2017 21:11:18 GMT




        Odin,

           I regret to inform you that I still have not received any sort of response from you via twitter. If
        you could, please email me directly at Americanvanguardindiana@tutamail.com

        I would enjoy discussing whatever affairs you previously wanted to talk to me about. Thank you.


        From: Odin
        Tue, 17 Jan 2017 22:43:52 GMT




        Did you try to DM me on Twitter? How come that didn't work.


        From: Lauburu88
        Tue, 17 Jan 2017 22:45:19 GMT




        Because the option to dm you is not present on your twitter page.


        From: Odin
        Tue, 17 Jan 2017 22:47:11 GMT




        Ok. I'll send you an email later this week, got alot of things to take care of.


        From: Lauburu88



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        Alright. Thank you. I appreciate the cooperation.




                   Dedicated in memory of Blaze Bernstein, ‫ז׳׳ל‬, so that others may not suffer the same fate.

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